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                     EXHIBIT B
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 PROBATE COURT
 CITY AND COUNTY OF DENVER, COLORADO
 Court Address:                                                              DATEFILED:February 25, 2016 5:27 PM
 1437 Banno ck Street, Room 230
 Denver, CO 80202-5382
 720-865-83 10
 In re the Intere st of:                                                 A
                                                                             COURT USE ONLY A
                                                                         Case Number:
 Joanne Black,
                                                                         12 PR 1772


 Protected Person.                                                       Division : 1      Courtroom : 224

                                                 ORDER

THIS MATTER com es befor e the Court for consideration of Anthony Dain 's Forthwith Motion for an
Order that, as a Trustee of the 1997 Supplementa l Needs Tru st for the Benefit of Joanne Black, he use
Supp lemental Needs Tru st Funds to Pay for Attorneys and Other Professionals to Represent and Defend
Joanne Black in Lawsuits Brought by Bernard Black Aga inst her and Others Involving Her Interests and
Asse ts, filed with the Denver Proba te Court on February 17, 2016 . The Motion was discussed during
proceeding s held in the Denver Probate Court on other issues February 18, 2016.


The Court finds this Motion is grounded in the Complaint for Declaratory Relief filed by Bernard Black,
on or about Janua ry 29, 2016 , in the United States District Court for the No1thern District of Illinois,
Eastern Division , case number 16 CV 1763, styled as Bernard S. Black and Samuel Black Plaintiffs, v.
Joanne Black, Defendant. ("here inafter referred to as the US District Court") Review of this Complaint, a
copy of which was filed as an attachment to Anthony Dain 's Motion , reflects Mr. Black 's request for an
entry of a jud gment from the United States District Court declarin g that he and his son, Samuel Black, are
sole Trustees under what has been denoted as an Issue Trust, with the "r ight to perform their obligatio ns
as Trustee under the Issue Tru st without restraint", to "include payment of costs of management and
adm inistration of the Issue Trust Estate and, in their sole discretion, distribute funds to BB!ack as
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The Denver Probate Court conducted a hearing on February 18, 20 16, by stipulation of the parties, to
resolve four issues related to the conservatorship initiated by Bernard Black for the benefit of Joanne
Black. Bernard Black voluntar ily failed to personally appear but was represented by his counsel of record,
Bernard Posku s and Patrick Thiessen. As part of these proceeding s, a certified copy of the January 19,
2016 Order to Show Cause with Temporary Restraining Order issued by the Supreme Court in Richmond
County, New York was filed with this Court and admitted into evidence. At hearing, this Court was
advised by Mr. Dain and Joanne Black 's New York Counsel, Me lissa Cohenson and Ira Salzman, that
Ms. Black had been personally served with copies of the US District Court summons and complaint at or
near her residence in Brooklyn, New York on February 23, 20 16. This Court was advised by counsel that
based on the date of service, the Answer is due by Ms. Black to the US District Court in Chicago on
March 2, 20 16. The Court found the service and due date created urgency to this matter and that in order
to protect Joanne Black's rights and avoid a default, a decision must be made regarding Mr. Dain's
request to access funds from Ms. Black's Special Needs Trust ("SNT" ) to hire counsel and at the very
least, file a timely answer to the US District Court Complaint.


The Court found at hearing, and continues to find that allowing the full amount of time for response from
Mr. Black 's attorneys would place Joanne Black at a risk of default in the US District Court and ordered
his response to be filed on or before Febrnary 23, 20 16 while on the record in open court. (See, C.R.C.P.
I21(1 -15(b)) Mr. Black has now filed his response through newly retained counsel, which the Court has
reviewed and considered . The Court has also reviewed the US District Court Complaint, a copy of which
is attached to Mr. Dain' s Motion. It is not known to this Court whether Mr. Black filed copies of the
September 28, 2015 Hearing Order from the Denver Probate Court or the January 19, 2016 Order to
Show Cause with Temporary Restraining Order issued by the Supreme Court in Richmond County, New
York with the US District Court.


This Court's review of Mr. Black's Complaint to the US District Court reflects incorrect statemen ts made
regarding this Court 's Orders. Paragraph 19 of the Complaint references this Court's April 20 IS Status
Conference Order freezing all assets related to Joanne Black but fails to reference this Court's September
28, 2015 Order which found Bernard Black had breached his fiduciary duties as conservator for his sister
Joanne Black, was removed as her conservator and surcharged the funds he misappropriated from Renata
                                                                                                       ~......
Black 's accounts and transferred into the Issue Trust he references in the Complaint; a sum of
million dollars.
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Similarly, at Paragraphs 14, 15 and 16 of the Complaint Mr. Black asserts his cousin, Cherie Wrigley ,
applied for appointment as Joanne Black's guardian in the Richmond County, New York Supreme Court
("New York Court" ), asserts he was not a party to the action, and asserts the New York Court entered
orders restraining him from making distributions from the Issue Trust. Based upon a review of the New
York Court Order dated January 19, 2016, Mr. Black's assertions in this regard appear to be less than
accurate. Mr. Black has not requested relief from any of the New York Court's orders directly from that
court, despite a multi-day evidentiary hearing having been scheduled in the New York Court in March
2016 at Mr. Black ' s behest.


The Court finds Mr. Black's Response is rife with inaccuracies borderin g on half-truths. He asserts the
SNT is funded primarily with assets from the New York estate of Renata Black. (Re sponse, page 3). This
statement is fully contrary to this Court's findings entered after a multi-day evidentiary hearing in 2015.
(Hearing Order dated September 28, 2015). Bernard Black transferred funds from his deceased moth er's
accounts designated payable on death (" POD") to Joanne Black and his five eldest children to fund the
Issue Trust (September 28, 2015 Hearing Order, Page 10). The funds in the POD accounts were not estate
funds as POD account funds pass outside of a deced ent' s probate estate. (See, C.R.S. l 5- 15-2 l 2(b )) Mr.
Black perpetrated a scheme whereby he obtained an order from this Court to disclaim those POD funds
and rather than place the funds into the SNT as he represented his intention s to be, he placed two -thirds of
the disclaimed funds into the SNT and one-third into the Issue Trust, all without fully disclosing his
intentions to this court. (See, findings from September 28, 20 15 Hearing Order). Mr. Black therefore has
no rights to any of the fund s contained within the Issue Trust that were transferred or derived from Renata
Black' s POD accounts and the amount surcharged to him speaks to this. Essentially, Mr. Black requests
the US District Court to allow him to spen d funds that he misappropri ated from Joarme Black on his
attorney fees and costs to maintain the litigation he initiates against her and against his cousins.


Mr. Dain is co-trustee of the SNT and has yet to receive access to the accounts. Mr . Black was present
and represented by counsel at hearing before this court on August 5, 2015 when he was directed to tum
over all account information, checkbooks, passbooks or any item which would allow withdrawal of
Joanne Black's funds, including trust or other accounts to the successor conservator for Joanne Black. Mr.
Black repres ents he is the primary custodian of the SNT records and assets (Response at Page 3), which is




days .



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This court is aware of on-going litigation in the New York Court over who should be appointed as Joanne
Black ' s guardian. As this court under stands it, a guard ian in the State of New York overse es not only the
person of the Ward but also the Ward 's financial affairs. This then explains Mr. Black's opposition to
appointment of his cousin Ms. Wrigley as guardian for Joanne Black , as this Court has directed the
conservatorship established in Colorado shall be trans ferred to the fiduciary appointed by the New York
Court upon completion of that process . (September 28, 2015 Hearing Order, Paragrap h I 0).


The Court finds that it removed Bemard Black as Joanne Black 's conservator, recommended he not serve
in any fiduciary capacity related to Joa1me Black, recom mended he be removed as executor for his
mother , Renata Black 's estate and be removed as trustee or co-trustee for any trust of which Joanne Black
is a beneficiary . Bernard Black has been ordered to transfer all record s relating to the SNT to co- trustee
Anthony Dain. Mr. Black's argwnent that the SNT is admini stered in Chicago must therefore fail and he
has not asserted the SNT is registered in any state . C.R .S. 15-16-203 provides that a court will not over
party objection entertain proceedings involving a trust registered or having its principal place of
admini stration in another state, excep t when appropriate partie s cannot be bound by litigation in the courts
of the state where the trust is registered or has its principal place of administration or when the interests of
ju stice otherwise would be seriously impaired.


Here, Anthony Dain is co-trustee for the SNT . At this juncture Mr. Dain should be solely responsible for
all SNT admini stration based on this court's orders or he should have initiated litigation in the appropriate
forum to formally remove Mr. Black as a co-trustee if that is his intention. Instead, Mr. Dain filed the
instant motion seeking specific authority to use SNT funds to defend Joann e Black from the litigation
initiated by Bernard Black in the US District Court . This Court cannot find based on the record that the
princ ipal place of administration for the SNT is in Ch icago, and no party has filed documentation of
where the SNT is registered , if it is registered at all. Anthony Dain has requested relief from this Court in
his capacity as a co-trustee. This Court is aware that the funds contain ed within both the SNT and Issue
Trust originated from Renata Black 's POD accounts and she was a resident of New York State , as is
Joanne Black. It therefore appears this motion is more properly directed to either the New York
Surrogate's Court or the New York Court overseeing appointment of a guardian for Joanne Black.
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must show that the interests of ju stice would be strongly impaired by referring the case to the state where
the trn st is registered. As noted above, there is no evidence showin g the SNT is reg istered in Illinois or in
any other state, and Bernard Black was ordered to cease administration in August 2015. No trust actions
have been initiat ed in New York State which is the most appropriate forum. Thi s Court therefore finds
that in order to avoid a default from Joanne Black in the US District Court , the interests of justice would
be strong ly impaired should this Court decline to entertai n Mr. Dain's motion.


Until a guardian over Joanne Black's prop erty has been appo inted by the New York Court, this Cou rt
retains continuing ju risdiction over her financial affairs . (C.R.S. 15- 14-410, September 28, 20 15 Hearing
Order.) T his Court has authority to transfer jurisdiction of the conservatorship if it is satisfied that a
transfer will serve the best interest of the protecte d person. C.R.S. 15- 14- 107( 1). Th is Court finds that it is
in Joanne Black's best interest to transfer the conse rvator ship to New York State only after a guardian of
her property has been appointed for her in that state. In matter s concerning adults, the provisions of article
14.5 of this title sha ll apply. C.R.S. l 5- 14-107(2)(b ). A court may communicat e with a court in another
state conce rning a proceeding arising under this article, shall make a recor d of the communi cation which
may be limited to the fact that the communication occurred. C.R.S. 15-14.5-104( I).


This Court contacted the Honora ble Thomas P. Aliotta , J.S .C. on February 24, 2016 to discuss this
present situation and pending motion. Both this Court and the New York Cou rt are in agreeme nt that the
parties should be advised of this communica tion and that this Court should enter orders to prevent
wasting of Joanne Black 's fund s and to prevent further wrong-doing and that suc h orders are consistent
with Justice Aliota 's Order signed January 19, 2016 enjoining only Bernard Black from dissipating any
assets of Joanne Black.


Bernard Black and his current wife both testified before this Court that they are law professors at
No rthw estern University in Chicago , Illinoi s. As such, each of these individual s has an enhanc ed duty for
full and complete can dor to the Court and to conduct themselves and this matter with dignity becoming
judic ial officers and professors. The taking of his sister' s funds, the multiple suits initia ted by Mr. Black
against his family members, the inaccuracies in his pleading s before this Court and his apparent refusal to


his status as a law professo r.




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IT IS THEREFOREORDERED:
   I.   Anthony Dain's Forthwith Motion is GRANTED IN PART. As co-trustee of the Special Needs
        Trust for Joanne Black, Mr. Dain is authorized by this Order to unilaterally withdraw funds from
        the Trust in an amount sufficien t to:
        a.   Retain counsel to represent Joanne Black in the lawsuit filed by Bernard Black in the US
             District Court, case number 16 CV 1763;
        b. Pay for fees and costs related to the recovery of judgme nts, fees and costs that Bernard Black
             has been ordered to repay to Joanne Black through surcharge or other court orders.


IT IS FURTHERORDEREDTHAT:


   1. Appropriate proceedings sha ll be initiated in the Surrogate's Court in New York regarding the
        estate of Renata Black.
   2. Appropriate proceedings shall be initiated in the appropriate court in New York State to resolve
        issues relating to the trusts funded from Renata Black's accounts, including whether removal of a
        trustee should occur.


DONE IN CHAMBERS this 25th day of February, 2016.

                                                                BY THE COURT :



                                                                The Honorable Elizabeth D. Leith
                                                                DENVER PROBATE COURT JUDGE


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                                                  City & county of Qenver.Colo
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